m nt 49-7 Filed 01/03/19 Pa e 1 Of 53 Pa e|D #Z 1856

Serving 011 Sexual Misconduct Hearing Panels

 

883 ‘H¢lH ‘HS.’.I ‘ue\uou lian

gm
m 553 §
.. 66 -|

5

C
LibbySpotts

AsS-Ociate Dean, Deputy Title IX Coordinator |T'S `O N
Office Of Student Conduct

ehspotts@indiana.edu

   

Sally Ronald
Associate Director, Office Of Institutional Equity

- Office of Student
Sl`OIlald@ 111-eda welfare & Title lx

lUOOOO708

Case 1:18-cV-03713-TWP-|\/|.]D Document 49-7 Filed 01/03/19 Page 2 of 53 Page|D #: 1857
_ _

Student Welfare Statement

 

To address the unacceptable incidences of se)_rual assault and similar
crimes on U.S. college campuses, Indiana University is committed to:

- Taking vigorous steps to prevent_sexual_ assault and similar crimes
through education and training, including education on the effects of
alcohol on consent.

~ Helpling build in our community a robust culture that rejects such
con uct and associated behaviors.

~ Encouraging bystanders to intervene to revent a s_e)_cual assault from
occurring or to report such crimes to university officials or local
authorities, and to fully account for such reports under federal law.

- Supporting victims With full information about available resources,
assisting victims in accessing resources, and at all times exhibiting
persona care and concern to victims.

-- Investigati`ng thorou lily and objectively all reports of sexual assault
and other crimes, an cooperating fully With local law enforcement and
prosecutors

-- Conducti_n university proceedin s arising from sexual assault and other
crimes wi_t the highest degree 015 professionalism, assuring fairness
and dignity to all participants

lNDlANA UNIVERS|TY

 

lUDOOD?OS

Case 1:18-cV-03713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Pa e 3 of 53 Pa e|D #: 1858
_

The University’s Commitment

 

The lU Sexual l\/lisconduct Policy prohibits discrimination on
the basis of sex or gender The policy covers:

- Sex .& Gender Basecl Discrimination
- Sexual Harassment
' Sexual Violence (includes rape & sexual assaul_t)
- Dating Violence & D'omesticVio|ence
' Sexual Exploitation
- Stalking
= “Sexua| N|isconduct”

All employees of the University have an obligation to help ensure
this commitment

|NDlANA UNl\/ERS\TY 2

|UO{JGO?lO

Case 1:18-cV-O3713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Page 4 of 53 Page|D #: 1859
_

w Federa| & Lega| Landscape: Where
We Are Now

 

~ Title lX
~ interim Guiclance

- lU’s position
- Clery/VAWA
- Due Process
- Rightto confront

|ND|ANA Ul\l|\/ERS|TY 3

|UOOOO711

 

Case 1:18-cV-O3713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Paoe 5 of 53 Paoe|D #: 1860

SeXual Misconduct

Definitions

 

Case 1:18-cV-O3713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Page 6 of 53 Page|D #: 1861

  

Sexual Harassment

-Unwelcome conduct or behavior of a sexual nature. Sexual harassment
includes sexual violence (see definition below). Both violent and nonviolent
sexual harassment are prohibited by the university

-- Sexual_harassment can linclude:
` ~ UnWelcome sexual advances
- Requests for sexual favors
- Other verbal, nonverbal, or physical conduct of a sexual nature.

-Sexual harassment creates a hostile environment When the conduct is
sufficiently serious to limit or deny a person’s ability to participate in or
benefit from the university’s educational programs or When it affects
employment-and it is prohibited

ll\|D|ANA UN|VERS|TY

 

lUDDDO?‘lB

Case 1:18-cV-O3713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Page 7 of 53 Page|D #: 1862

  

Sexual Harassment

-What conduct is “sufficiently serious” to create a hostile environment?
- Severe
- Depends on nature and scope of the behavior
- A single act of nonconsensual penetration is enough
- Factors contributing to severity:
-» Humiliating
- Threatening
~ Violent behavior
- Persistent
~ Incident or action itself is longer lasting
- The conduct is oft-repeated
- Pervasive
~» Occurs in public spaces
- Well-l<nown among university community

-- Widespread, openly-practiced, or prevalent
Frameworl< adapted from The ATDIA Playbook

lND|Al\lA UN|VERS|TY

 

lU00007'14

Case 1:18-cV-O3713-TWP-l\/|.]D Document 49-7 Filed 01/03/19 Page 8 of 53 Page|D #: 1863

 

Sexual Assault

 

-Sexual assault includes:
- Non-consensual Sexual Penetration

_ An individual subjects another person to sexual penetration
Without the consent of the person, and/ or by force.

_ Non-consensual Sexual Contact

- Intentional sexual touching by an individual of the intimate
area of another person (i.e., genitals, breasts, buttocks) or
intentional sexual touching of another person With any of these
body parts, Without the consent of the person, and/ or by force.

 

|ND|ANA UN|VERS|TY 7

iU0000715

* ' - V-03713-TWP-l\/|JD DOCument 49-7 Filed 01/03/19 Pa e 9 Of 53 Page|D #: 1864
h _

Sexual Assault

 

-Sexual penetration

- Sexual intercourse in its ordinary meaning,_ cunnilingus,
fellatio, anal intercourse or any intrusion, however slight, of
any part of the actor’s or person’s body or any object
manipulated by the actor into the genital or anal openings
of the person’s body

 

|ND|ANA UNl\/ERS|TY 8

|UOGOO716

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Page 10 Of 53 Page|D #Z 1865
_

  

Consent

Consent is agreement or permission expressed through
affirmative, voluntary Words or actions that are mutually
understandable to all parties involved, to engage in a specific
sexual act at a specific time:

' Consent can be Withdrawn at any time, as long as it is clearly
communicated

' Consent cannot be coerced or compelled by force, threat,
deception or intimidation

' Consent cannot be given by someone Who is incapacitated, as
defined beloW.

' Consent cannot be assumed based on silence, the absence of
“no” or “stop”, the existence of a prior or current relationship,
or prior sexual activity.

|NDlANA Ul\l|\/ERSITY

 

|UOOOO`/‘W

- ' - -|3713-TWP-l\/|.]D DOCument49-7 Filed 01/03/19 Pa e 11 Of 53 Pa e|D #: 1866
h _

incapacitated

 

A person is incapable of consent if they are unable to
understand the facts, nature, extent, or implications
of the situation due to drugs, alcohol, a mental disability,

being asleep or unconscious, or based on their age
(pursuant to indiana law).

Consent does not'exist When the individual initiating

sexual activity knew or should have known of the other
person’s incapacitation

lND|ANA UN|\/ERSIT\" 10

 

lUDOOO'/"l 8

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Page 12 Of 53 Page|D #Z 1867
_

  

A Note about Incapacitation

-If a person is incapacitated, there can be NO consent, no matter
what the person says or does

- “An incapacitated person could be stark naked, demanding sex, but if they
are incapacitated at the time, and that is known or should be known to
the responding party., any sexual activity that takes place is misconduct,
and any factual consent that may have been expressed is IRRELEVANT.”
-ATIXA Plagl:)ook, pg. 45

-Whether Respondent should have known Complainant was
incapacitated is an objective standard

- What would a reasonable person in respondent’s position have known?

- “Reasonable person” is defined as sober and exercising good
judgment (ATIXA Plagl)ook)

IND|ANA UNl\/ERS|TY

 

lU0000719

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Page 13 Of 53 Page|D #Z 1868
_

     

Dating Violence

llJ

-Violence or the threat of violence committed by any person
who is or has been in a relationship of a romantic or intimate
nature. The existence of such a relationship will be
determined based on a consideration of the length of the
relationship, the type of relationship, and the frequency of
interactions between the persons involved in the
relationship

|ND|ANA UN|VERS|TY 12

 

lUOOOD?ZO

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Page 14 Of 53 Page|D #Z 1869
_

  

Domestic Violence

-Violence or the threat of violence by a person against a another person
who:

- is or was a spouse of,

- is or was living as if a spouse of,

- has a child in common with,

- is a minor subject to the control of, or

- is an incapacitated individual under the guardianship or otherwise subject
to the control of the other person regardless of whether the act or threat
has been reported to a law enforcement agency or results in a criminal
prosecution.

END|ANA UN|VERS|TY

 

|UDOOO?Z'I

- 1°-7 F|qu 01‘03‘19 Pigi 15 at 53 Page|D #Z 1870 '
_

   

Stalking

-A knowing or an intentional course of conduct involving
repeated or continuing harassment of another person that
would cause a reasonable person to feel terrorized,
frightened, intimidated or threatened and that actually
causes the victim to feel terrorized, frightened, intimidated,
kor threatened The term does not include statutorily or
constitutionally protected activity

|ND|ANAUN|VERS|TY 14

 

|UOGOO?ZZ

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCUment 49-7 Filed 01/03/19 Paoe 16 Of 53 PaoelD #Z 1871

The University’s Sexual

Misconduct Process

 

q ° 1218- V-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Pa e 17 Of 53 Pa e|D #Z 1872
_

The University Process

 

" When the University knows or reasonably
should know about acts or potential acts of
sexual misconduct, it must take immediate and
appropriate steps to investigate or otherwise
determine What occurred . ..

|NDIANA UNlVERS[TY 16

 

lUOODO'/'24

CaSe 1218-CV-O3713-TWP-l\/|.]D DOCument 49-7 Filed 01/03/19 Page 18 Of 53 Page|D #Z 1873
_

  

 

 

 

 

 

, St de tProred res Facuity orSraff
i-low Does the University Respond to Reports of uls:eswden: procedure
_ P¢o§gdure§ ghart| (See angel
Student Sexual Misconduct? Mi,¢.,.,d.mp¢,ig,
n a

 

\ J
w Nen gaps

 

 

 

      
   
   

 

 

 

 

 

 

 

 

 

 

T'Id° ix C°°rdi"at°r*' Ail incidents of Sexuai Misconduct pm_cedu_tes mmaled_accordm= m =_he
UEFN\Y Title ix are reported to the Depur,r Title tit unwerm"' sexual Muc°'“du“ policy
f L¢~,,_,_,mmm,_a| coordinator for therespective 1 ‘?`
campus, as well as the University l “" l
Title ix Coordinator. Title ibi Yes ll l
information stud¢m A{-[airs ` Oi‘ficia|s coordinate directiy with , l
offices , campus Stuciant A'i'lalrs and{or *' |
regarding an Human Resources to l
incident of sexual _J take the following actions: De‘e'mme Whe"`ha' l
m‘l;conduc; may Complainant wants :
be reported \o: _ Re$p°nsib]e ' Gather preliminary \\':> mlD\le forward l No
Empm`,ee , information with investigation |
` ¢ DHar available resources l
to Complainanr, including \` :
F__"__"‘"°"_"'""i mental and heath \_ l
wm .. counseling No \` l
0 implement appropriate 3 l
mha-wound . .
mu"m measurzsand no lf Comptainant does not wish to move
cement olders' d forward with an investigation the
applicable _ University must determine the
' iam in about-cms low following Can a safe environment for
Confidential law enforcement ii desired , _ _ _
Empioyees: no by Complainant the Entire University community be
maintained without an investigation?
reporting obligations \ j
: ¥es
V

 

Prov`tde any necessary remedial
measures and notii‘\,l the Complainant

 

Requireci Actions:

 

that the Universit',"s abilities to address
among _________ ' Erna`il titiei>i iu.edu with any questions ma complaint wm be limited wi\huuz an
investigation

 

 

 

 

ll\iDlAl\iA Ul\||\/ERS|TY

 

|UUOOO725

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCument 49-7 Filed 01/03/19 Pa e 19 Of 53 Pa e|D #Z 1874
b _

  

The Investigative Process
Simplified

-Incident Report received
~Investigatio-n
- Includes:

- Mccting With Complainant, Rcspondent, and any Witnesses Who have
relevant information

- Gathering all relevant materials

--Crcation of Preliminary Invcstigation Report

~ Parties have 10 calendar days to review and respond in Writing
-Creation of Final Investigation cho.rt

_ Investigator determines Whether it’s appropriate to place a charge

- If a charge is placed, Respondent has option to accept responsibility
-Hcaring -arid Determinatiori of Responsibility
-Sanctioning
-Appeal process

lND|ANA UN|\/ERS|TY

 

lUOOUO?'ZS

CaSe 1218-CV-03713-TWP-I\/|.]D DOCument 49-7 Filed 01/03/19 Pa e 20 Of 53 Pa e|D #Z 1875
-

Opportunities to Submit Information

 

-Parties have several opportunities to submit information
for oonsideration:

- Meeting With the investigator (an.d any follow-up
meetings)

-- Investigator Will request that parties submit Witnesses and
any other relevant information by a specified deadline

-- Response to the Preliminary Investigation Report

|ND|ANA UNIVERS|TY 19

 

EUUODO727

Case 1:18-cV-03713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 21 of 53 Page|D #: 1876

 

w Anatomy of the
Final Investigation Report

 

-Part I: Investigation Summary

~ Brief summary of how the incident came to the attention
of the University

-Part II: Investigation Timeline

- Outlines What took place and When throughout the
course of the investigation

- E.g. When parties and Witnesses Were contacted;
reason(s) for any delays in the investigation

|NDIANAUN|\/ERS|TY 20

|UOOOD?'ZS

 

CaSe 1218-CV-03713-TWP-I\/|.]D DOCument 49-7 Filed 01/03/19 Paae 22 Of 53 Page|D #Z 1877
_

     

Anatomy of the
Final Investi-gation Report

lIJ

-Part III: Investigator Meeting Summaries
- Summaries of each meeting With the parties and witnesses
- Culls the relevant information from the meeting notes
-Part IV: Additional Evidence and Information

- Any documentation gathered in the course of the
investigation

- Police 'reports, text messages, social media posts, etc.

|ND|ANA UN|VERS|TY

 

[UOOOO729

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCument 49-7 Filed Ol/O3/19 Page 23 Of 53 PaHG|D #Z 1878
_

  

Anatomy of the
Final Investigation Report

-Part V: Respo-nses to the Preliminary lInvestigation Report

- If complainant and/ or respondent choose to submit a response to
the Preliminary Investigation Report, it Will be summarized here

~Part VI: Analysis and Charges
- Will summarize material facts in dispute and not in dispute
_ Will list specific Code of Conduct section at issue

- Panel is tasked With determining Whether the respondent is
responsible by a preponderance of the evidence standard for
violating the Code and policy in the manner listed in this section

lND|/-\NA UNl\/ERSITY

 

lUOOOO'/'SO

Case 1:18-cV-03713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 24 of 53 Page|D #: 1879

Preparing for the Hearing

|UOUOO731

 

Case 1:18-cV-O3713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 25 of 53 Page|D #: 1880

 

Tips for Reading the
Investigation Report

 

-Start by identifying the issue at the heart of the case
__ Determine what the allegations are under the Policy and Code

~»- Determine what information you will need to make a decision
regarding responsibility

-Read through the entire report once, to get a general
sense of the nature of the case

-Then, read through the report again, identifying information
relevant to the determination of responsibility

IND|ANA UN|VERS|TY

 

lUGOOO'/'SZ

° 1218-CV-O3713-TWP-|\/|.]D DOCument 49-7 Filed 01/03/19 Pa e 26 Of 53 Pa e|D #Z 1881
_

Tips for Reading the
Investigation Report

 

-Understand the role of each person in the report
- The parties (complainant and respondent)
- Witnesses

- What does each person know? What is their relation to the
incident?

- Reporting party (if applicable)

-For each person, identify any credibility concerns

|ND|ANA UNl\/ERS|TY

 

|UOOOO733

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCument 49-7 Filed 01/03/19 Paae 27 Of 53 PaHG|D #Z 1882
_

  

Tips for Reading the
Investigation Report

-Understand the chronology of the incident

- What took place when

- I`dentify the critical points in the course of the incident
-Understand the chronology of the investigation

~ Carefully review the investigation timeline
-If there is information not included in the report, try to identify why

- Typically, investigator will indicate that:

- A witness did not meet with them

~ A party did not (or could not) provide materials (text messages,
Facebook posts) relevant to the case

- If it’s unclear why information wasn’t included, can ask about it in the
hearing

|ND|/-\NA UN]VERS|TY

 

|UOOOO734

Case 1:18-cV-O3713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 28 of 53 Page|D #: 1883

 

On the day of the hearing...

 

-Wear appropriate attire
_ Business casual
- i.e. no jeans, shorts, etc.
-- No graphics that identify an affiliation
~ e.g. Greek letters
-Eat before coming to the hearing
- Consult with OSC for special circumstances
»~Arrive at least 15 minutes before the hearing is slated to begin

- Hearings start on time

- Panels will often need some time to plan for the logistics of the day prior to
the start of the hearing

|ND|ANA UN|\/ERS|TY

 

|UOUOOTSS

The Sexual Misconduct

Hearing

 

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCUment 49-7 Filed 01/03/19 Pa e 30 Of 53 Pa e|D #Z 1885

  

Hearing Room Arrangements

-Student Conduct will determine seating arrangements for each
participant in the hearing ahead of time '

- Panel members, including chair
- Complainant (if available)

- Respondent (if available)

- Investigator

-~ Witnesses

- Advisor(s) (if present)

|ND|ANA UN|VERS|TY 29

 

|U0000737

Case 1:18-cV-O3713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 31 of 53 Page|D #: 1886

 

Hearing Roles

 

-Hearing Panel Chair
- Responsible for organizing and running the hearing

- Ensures that the hearing follows the procedures and is
fundamentally fair

- Determines relevance of information presented before the
commission

[NDlANA U[\||\/ERS|TY

 

|UUOOO738

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCument 49-7 Filed 01/03/19 Pa e 32 Of 53 Pa e|D #Z 1887
* _

w Hearing Roles

-Hearing Coordinator

  

- Assists the chair with the administration of the hearing
- Manages hearing logistics

-- Aids in the evaluation of relevance of information and consults
on other matters

_ Does not have authority or influence over the outcome of the
hearing

- Will not be present when the panel casts votes regarding
responsibility and sanctions

|ND|ANA UN|VERS|`|'Y

 

IUOOOO739

-n 49-7 Fil 0103/19 Pa 333 ofsa Pa elo #; 1333
w _

  

Hearing Roles

-Investigator _
- Present throughout the course of the hearing

- Available to answer questions from the panel and parties at the
end of the hearing

- Will not provide opening or summary statements

- Will not ask questions

|ND|AI\|A UNl\/ERS|TY

 

|UDODO74O

Hearing Roles

 

-Advisor(s)

- Both complainant and respondent are permitted to have an
advisor present

-- Same parameters apply as in the investigative phase

- Advisors are provided with a handout listing expectations

IND|ANA UN|VERS|TY

 

[UODUO741

- 1°-7 Fi|ig 01‘03‘19 Piqi 35 Of 53 Paae|D #Z 1890

  

Hearing Roles

~Hearing Assistant
- 1-2 people who assist with hearing logistics

- Ensure parties do not interact or run-into each other in the
lobby or hall way

- Facilitates breaks
_ Manages Witnesses
- Coordinat-es Technology

- Escorts parties from the building at different times

|ND|ANA UN|\/ERS|TY

 

|UOUOO742

- - i--u » » - -7 F' P 36 fsaPa elo#; 1391
° " ' w _

The Hearing Script

 

-Maintained by Student Conduct
- Provides direction and structure for the hearing
- Contains:
_ Opening and purpose statements
~ Hones_ty statement
- Statement of charges
- Opportunity for complainant and respondent to speak

- Complainant and respondent will be asked to shape their comments in
response to the Investigation Report

- Closing of the hearing and information re: notification of outcome to
Respondent and Complainant

IND|ANA UN|VERS|TY

 

|UOOOO743

l°n 49-7 Fi|iq 01‘03‘19 Paae 37 Of 53 PaHG|D #Z 1892
_

  

Hearing Decorum

-Active Engagement
- Present an open posture
- Repeat, reaffirm, rephrase
_ Be mindful_avoid a monopoly of the air
_ Stay on task
_` Maintain a professional tone throughout

- Create a space in which people feel comfortable sharing
information

'*Self-awareness is key here

IND|ANA UNIVERS|TY

 

lUOUOO744

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCUment 49-7 Filed 01/03/19 Pa e 38 Of 53 Pa e|D #Z 1893

  

Questioning Participants:
General Guidelines

_Appropriate questions
- Who, what, when, where, and how
~ Note: be cautious When using “why” questions
- Open»-ended
- Clearly stated, in a neutral tone
- Fact specific
- Relevant to the case at hand

- Pertinent to the determination of responsibility and, if necessary,
creation of appropriate outcome / sanction

_ N ot answered by the information contained in the Final
Investigation Report

||\|D|A|\|A UNI\/ERSITY

 

|UOOUO745

- °-7 ' 9 P 39 f53P |D#21894

   

. Questioning Participants:
General Guidelines

-Before asking a question, consider:
- What do you need to know?
- Why do you need to know it?

- i.e. Is this information something you need to know in order to
determine responsibility?

_ I-Ias this been addressed in the report?
- i.e. Is the information you’re seeking found in the report'?
- ls this the best way to ask for this information?

- Is this participant the appropriate person to provide this

ll'lfOI`IIlEll:lOIl? Based on information received at AT]XA
investigator training 2015 and NCI-IERM HERM-
CI certification course 2017

l|\|D|ANAUN|VERS|'|`Y 38

 

]UO{JOO746

Case 1:18-cV-O3713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 40 of 53 Page|D #: 1895

 

Questioning Participants:
General Guidelines

 

-Inapp‘ropriate to:
- Ask questions regarding prior sexual history of either party
- lnquire about prior misconduct by either party

- “Adjudicate” the conduct of the complainant in the context of the
respondent's hearing

-~ Note: It can be appropriate to discuss specific behaviors that
either indicated consent, or lack thereof

- Ask questions answered in the Investigation Report

~ Pose a question that has already been asked by another panel
member

|ND|ANA UN]VERS|TY

 

|U0000747

Case 1:18-cV-O3713-TWP-|\/|.]D Dooument 49-7 Filed 01/03/19 Page 41 of 53 Page|D #: 1896

 

Questioning the Complainant

 

-Consider the use of a trauma-informed approach, if applicable
_Present yourself in a manner that allows trust to be built

- Be mindful of your verbal and non-verbal behaviors
-Do not reframe the incident for the complainant

- Allow them to choose the terms that describe the incident and the
impact

-Use their language / phrasing
- Repeat the phrase to establish “permission” for use

-Postpone questions if necessary to allow for complainant to answer
completely

-Do not duplicate the work of the investigator

|ND|ANA UN|\/ERS|TY

 

lUOOOO"MS

° 1218- V-O3713-TWP-|\/| D Do ,mnf, 49-7 Fi| d 01/03/19 Pa e 42 Of 53 Pa e|D #Z 1897
_

Questioning Witnesses

 

-Keep in mind that witnesses often won’t know the full story

_ Don’_t expect witnesses to know everything--they can only share
what they know

- Be cautious about revealing information

-Ask open-ended questions to verify existing reports

-Do not substitute details from another party for that of an
incomplete witness account

_Be mindful of “planted” information

- Report may prompt panel members to look for this

|ND|ANA UN|\/ERS|TY

 

lUGOOO74-9

. _7 ` O 9 P 43 f53P |D#2189

 
  

Questioning the Respondent

-Present yourself in a manner that allows trust to be built
~Be patient
- Allow the respondent to fill the space
»~Ask broad questions
- “Please walk me through...”
~Use clarifying questions
_ “If you could, please explain further why/how...”

- “I-Ielp me understand why/how...”

-Before confronting or challenging, consider the cost_/ benefit to the
process

-Do not duplicate the work done by the investigator

|ND|ANA UNl\/ERSITY

 

lUDOOO7_50

CaSe 1218-CV-O3713-TWP-|\/|.]D DOCUment 49-7 Filed 01/03/19 Pa e 44 Of 53 Pa e|D #Z 1899

  
  

Questioning the Investigator

-Things to consider:

~ What clarification is needed to determine an outcome in this
case?

- Was information shared in the hearing that conflicts
with information recorded in the Final Investigation
Report?

- Is there anything about the process leading up to the hearing that
you need to understand more clearly?

- The investigator has spent the most time with the parties and the
materials gathered in the course of the investigation

|ND|ANA UN|\/ERSITY

 

|UOOOO751

Deliberation & Decisions

 

|UOOOO752

Determining Responsibility

 

-Standard: preponderance of the evidence

- What is more likely than not to have happened in this
case?

-Use the appropriate deliberation checklist for
each alleged violation

-Determination of responsibility is NOT based upon:
- Assistance of an advisor
- Status of the case in the‘criminal courts

- Past record of similar offenses

IND|ANA UNl\/ERS|TY 45

 

|UDGOO753

   

Assigning Sanctions

-Purpose of sanctions
- Proportionate response to the violation
- Serve as notice that the university will enforce standards
- Preserve and support the educational mission of the University
- Repair harm
- Complainant
- Community
~ Respondent
- Fair attempt to restore or redirect towards positive behavior
- Encourage better decision making in the future

- Provide valuable skill development

|NDIANA UNl\/ERSlTY

 

lUUOOO754

   

Assigning Sanctions

-Factors to consider

Severity and degree of policy violation

Previous conduct record and possible pattern of behavior
Impact on victim and community

Openness to learning and likelihood of a behavioral change

Response or lack thereof to previous interventions

-Mitigating and aggravating factors

*'*Refer to the sanction guidance document in your manual

|NDIANA U|\||VERS|TY

 

|UOOOO755

- l '-u l lo n*l 1 °-7 F||ii 91‘03‘13 Pigi 49 af 53 Pigi|D #Z 1904
_

  

Assigning Sanctions-

-Standing Sanctions:' Warnings

- Formal Reprimand

- A written letter of reprimand resulting from a student's misconduct

* Disciplinary probation

_ An extended period of warning that remains with the student for a
specified period of time

- Could impact student’s ability to serve in certain leadership positions
on campus, study abroad, etc.

_ If a student is found responsible for another Code violation while on
probation, will receive a progressive sanction

|ND|ANA UN|VERS|TY

 

|UOUUOYSS

CaSe 1218-CV-03713-TWP-|\/|.]D DOCUment 49-7 Filed 01/03/19 Pa e 50 Of 53 Pa e|D #Z 1905

  

Assigning Sanctions

-Standing Sanctions: Separation

-- Suspension

- Terminates the student’s enrollment at the University for a specified
period of time

- Student may not enroll at any other IU institution at this time

- Satisfactory completion of certain stipulations may be required for
readmission at the end of the suspension period

- Expulsion

- Permanently separates the student from the university without the
opportunity to re-enroll in the future

~ Student is also permanently prohibited from enrolling at another IU
institution

|ND|/-\NA UNIVERS|TY

 

|U0000757

_ l '_11 l la n-l A°_7 F||iin||“hi"i Eiqi ii iiii Eiqi|ii-iigi

  

Assigning Sanctions

-Educational Outcomes

- Must assign at least one educational outcome with every standing sanction
except expulsion

r_- Not a one-size-fits-all proposition

- When assigning educational outcomes, consider:
- The nature of the Code and policy violation
~ Developmental needs of the parties

- Need for community restitution / restoration

INDl/-\NA UNIVERS|TY

 

|U0000758

   

Crafting a Rationale

-Institutions are required to provide a rationale for the result
and sanction (if applicable) in each case

~Rationale must include:

How the evidence and information was weighed

How the evidence and information supports the result and sanctions
(if applicable)

I-Iow the institution’s standard of evidence was applied

Not enough to say that the information presented did (not)

satisfy the standard of evidence

-Assessing credibility of people / information

 

See The Handbook for Campus Safety and Security

Reporting (2016), Dept. of Education

|ND|ANA UNl\/ERS|TY

lU0000759

\ CB_S€ 1218-C -03713-TWP-l\/l D D m n 49 'l 0103 19 P 53 f53 P lD #Z 1908
C v .J ocu e t 17'\|]:1 eo| / / age o age (\>

